         Case 3:17-cv-01314-SRU Document 53 Filed 12/13/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

OZ ELS MASTER FUND, LTD., et al.,
                                                     No. 3:17-cv-01314 (SRU)
       Plaintiffs,

               v.

TEVA PHARMACEUTICAL INDUSTRIES
LIMITED, et al.,

       Defendants.                                   December 13, 2019

          DEFENDANTS’ MOTION TO CONSOLIDATE RELATED ACTIONS

       Pursuant to the Court’s November 18, 2019 Civil Case Management Order in the action

styled Ontario Teachers’ Pension Plan Board, et al. v. Teva Pharmaceutical Industries Ltd., et

al., No. 3:17-cv-00558 (SRU) (the “Ontario Action”) and Fed. R. Civ. P. 42(a), Defendants

hereby move to consolidate for pre-trial purposes this action with the Ontario Action. For the

reasons set forth in the Joint Motion to Consolidate Related Actions filed today in the Ontario

Action (Ontario, ECF No. 311) and further papers filed therein, which are attached as Exhibit 1

and incorporated herein by reference, Defendants submit that consolidating for pretrial purposes

the sixteen Teva-related U.S. individual actions pending in this District in the manner set forth in

the Proposed Order attached as Exhibit B to Exhibit 1 will enable this Court and the parties to

efficiently manage the related actions, avoid duplicative and expensive discovery efforts and

disputes, and preserve judicial and party resources. Indeed, counsel for Plaintiffs in this action

was lead counsel in the WorldCom action. See Ontario, ECF No. 311, Ex. C at 1 (Bernstein

Litowitz Berger & Grossmann LLP served as co-lead counsel). Accordingly, Defendants

respectfully request the entry of an Order in the form of the Proposed Order at Exhibit B,




                                                        ORAL ARGUMENT NOT REQUESTED
            Case 3:17-cv-01314-SRU Document 53 Filed 12/13/19 Page 2 of 2



provided that this action is included among the actions that are consolidated with the Ontario

Action. 1



                                              Respectfully submitted,

                                              DEFENDANTS TEVA PHARMACEUTICAL
                                              INDUSTRIES LIMITED, EREZ VIGODMAN,
                                              EYAL DESHEH, YAACOV “KOBI”
                                              ALTMAN, and SIGURDUR OLAFSSON

                                              By: /s/ Jill M. O’Toole
                                                  Jill M. O’Toole (ct27116)
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                                              Counsel for Defendants




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         Lead counsel for Defendants in the Ontario Action is not counsel of record in this
action. Though this action is not included in the relief sought in the Ontario Action, Defendants
respectfully request that this action be consolidated with the Ontario Action along with the other
individual actions pending in this District.
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